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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                  §
                                                        §
VENTECH ENGINEERS, L.P.                                 §               Case No. 17-33203
et al., 1                                               §
                                                        §               Jointly Administered
                          DEBTORS.                      §
                                                        §               (Chapter 7)

    TRUSTEE’S AMENDED MOTION, PURSUANT TO BANKRUPTCY CODE
    SECTIONS 105(A), 363 AND 503 FOR ENTRY OF ORDER (A) APPROVING
SALE OF CERTAIN OF THE DEBTORS’ ASSETS, (B) AUTHORIZING PAYMENT OF
    CERTAIN EXPENSES RELATED TO THE SALE AND (C) APPROVING AN
          AUCTION PROCESS AND BREAK-UP FEE, IF NECESSARY

TO THE HONORABLE DAVID R. JONES, UNITED STATES BANKRUPTCY JUDGE:

         Rodney D. Tow, chapter 7 trustee (the “Trustee”) for the estates of the debtors in the

above-captioned chapter 7 cases (collectively, the “Debtors”), files this Amended Motion,

Pursuant to Bankruptcy Code Sections 105(a), 363 and 503 for Entry of Order (A) Approving

Sale of Certain of the Debtors’ Assets; (B) Authorizing Payment of Certain Expenses Related to

the Sale; (C) Approving an Auction Process and Break-Up Fee, if Necessary (the “Amended

Motion”). In support of the Motion, the Trustee respectfully represents as follows:

                                     PRELIMINARY STATEMENT

         1.      On May 17, 2018, the Trustee filed his Motion, Pursuant to Bankruptcy Code

Sections 105(a), 363 and 503 for Entry of Order (A) Approving Sale of Certain of the Debtors’

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         The names of the debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal
         tax identification number, are: Ventech Engineers L.P. (0943); Ventech Engineers LLC (7644); Ventech
         Fabrication Services LLC (6482); Ventech Engineers International LLC (5030); Ventech Energy LLC
         (1829); Ventech Engineers North America LLC (7325); Ventech Engineers USA LLC (7499); Ventech
         Vessel Fabricators LLC (6525); Ventech Global Projects, Inc. (9146); Ventech International Projects LLC
         (2187); Ventech Global Construction, LLC (0736); Ventech Modular Fabricators LLC (2960); Ventech
         Refining Solutions LLC (6454); Ventech Plant Constructors LLC (5107); Ventech Engineers &
         Fabricators, LLC (2106); Ventech Industrial Contractors, LLC (6482); Ventech XTL LLC (2500); and
         Ventech XTL Oklahoma City LLC (5549).
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Assets; (B) Authorizing Payment of Certain Expenses Related to the Sale; (C) Approving an

Auction Process and Break-Up Fee, if Necessary [Dkt. 83] (the “Original Motion”). In the

Original Motion, the Trustee sought approval sell the Assets (defined below) to Inderbir S. Mann

(“Mann”).

       2.      In connection with the sale of the Assets to Mann, the Trustee provided Mann a

copy of the Title Commitment (defined below).           The Title Commitment identifies certain

encumbrances on the title to the Ventech Building (defined below) including that certain

Operating Agreement filed for record under Harris County Clerk’s File No. G951778 and certain

related easements (collectively, the “Operating Agreement”).         The Operating Agreement

functions like a property owner’s association by and among the owner of the Plaza Paseo Mall

(the “Pasadena Mall”) and the major buildings adjacent to the mall including the Macy’s

building, the Sears building and the Ventech Building (all the property subject to the Operating

Agreement, the “Pasadena Mall Properties”).           The Operating Agreement provides for use

restrictions on the Pasadena Mall Properties.

       3.      In connection with the title review, Mann and Mr. John Quinlan (“Quinlan”), the

representative for the owner of the Pasadena Mall and the Macy’s building, discussed Mann’s

proposed use of the Ventech Building. Quinlan notified Mann that Mann’s proposed use of the

Ventech Building violated the Operating Agreement and that the owner of the Pasadena Mall and

the owner of the Macy’s building would not consent to Mann’s proposed use. Mann requested

that the Trustee provide an additional 30 days feasibility period to try to address the use

restriction. The Trustee consented to this request.

       4.      During this time, the Trustee and Quinlan entered into discussions on the sale of

the Ventech Building.     Quinlan, through an entity called Pasadena Mall 3D, LLC (“PM3D”)



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made an offer that matched the economic terms of the Mann contract, provided an additional

$25,000 over the Mann contract to satisfy the Mann break-up fee, and has no conditions to

closing other than Bankruptcy Court approval.

       5.      On June 8, 2018, the Trustee and PM3D entered into an earnest money contract

(the “PM3D Purchase Agreement”) a copy of which is attached hereto as Exhibit D. 2 Pursuant

to the PM3D Purchase Agreement, PM3D deposited the full purchase price in the amount of

$1,575.000.00 with the Title Company.

       6.      In light of the foregoing, the Trustee has determined in the exercise of his

business judgement that the PM3D Purchase Agreement is superior to the Mann Purchase

Agreement because (i) there are no contingencies to closing other than approval by the

Bankruptcy Court, and (ii) the economic terms result in the same benefit to the estate while also

satisfying the break-up fee for Mann. Accordingly, the Trustee files this Amended Motion to

seek approval of the PM3D Purchase Agreement instead of the Mann Purchase Agreement.

                                  JURISDICTION AND VENUE

       7.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is

a core proceeding pursuant to 28 U.S.C. § 157(b).

       8.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       9.      The statutory predicates for the relief sought herein are §§ 105(a), 363, and 503 of

the title 11 of the United States Code (the “Bankruptcy Code”) and Rules 2002, 6004, and 6006

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).




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       For ease of reference the Trustee continues the exhibit references from Original Motion. The exhibits
       attached to the Original Motion include: Exhibit A: the earnest money contract between the Trustee and
       Mann (the “Mann Purchase Agreement”); Exhibit B: the Title Commitment, and Exhibit C: Weisser’s
       invoice for the survey of the Ventech Building.

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                                        BACKGROUND

        10.     On May 26, 2017 (“Petition Date”), the Debtors filed voluntary petitions for relief

under chapter 7 of the Bankruptcy Code thereby commencing the Debtors’ chapter 7 cases.

        11.     Rodney D. Tow was appointed as chapter 7 trustee for the Debtors’ estates on

May 30, 2017.

        A.      The Debtors’ Businesses.

        12.     Before filing for bankruptcy, the Debtors operated engineering, procurement, and

construction companies that focused on modular systems design and fabrication for petroleum

refiners and related industries.

        13.     The Debtors operated their businesses from a large, two-story office building

located at 100 Pasadena Boulevard, Pasadena, Texas (the “Ventech Building”) that once housed

an anchor tenant for the Plaza Paseo Mall a/k/a Pasadena Town Square Mall. The Ventech

Building’s contents include computers, cubicles, desks and similar office equipment, and

voluminous physical files.

        14.     The Trustee filed an Application to Employ Marcus & Millichap Real Estate

Investment Services (“M&M”) as Real Estate Broker to the Trustee on August 11, 2017 [ECF

No. 27] in order to market and sell the Ventech Building. The Court approved the Application

on August 22, 2017. Since then, M&M has diligently marketed the Ventech Building and sought

potential purchasers.

        15.     On or about April 11, 2018, M&M received a bid for the Ventech Building from

Mann.

        B.      The Mann Purchase Agreement.

        16.     Pursuant to the Mann Purchase Agreement, Mann is willing purchase the Ventech



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Building for $1,500,000. In addition, Mann is willing purchase all personal property currently

located on or in the Building (other than Ventech’s books and records and items previously sold)

for an additional $50,000. The Ventech Building and the personal property that are the subject

of the sale are collectively referred to as the “Assets.” Mann made a $25,000 earnest-money

deposit to American Title Company of Houston towards the purchase price.

        C.      Title Matters

        17.     The Trustee delivered to Mann a commitment for title insurance issued by Stewart

Title Company. The sale of the Assets is free and clear of all liens, claims and encumbrances,

except for the Exceptions from Coverage set forth in Schedule B to the Title Commitment (the

“Permitted Exceptions”). One of the Permitted Exceptions is the Operating Agreement.

        18.     Quinlan notified Mann that Mann’s proposed use of the Ventech Building

violated the Operating Agreement and that both the owner of the Pasadena Mall and the owner of

the Macy’s building would not consent to Mann’s proposed use.

        19.     The sale to Mann was subject to a 45-day feasibility period beginning April 23,

2018. During the feasibility period, Mann could terminate the agreement for any reason. Mann

requested that the Trustee extend the feasibility period by 30 days to try to address the use

restrictions. The Trustee granted this request to provide additional time try and resolve the use

restrictions.

        D.      PM3D Purchase Agreement

        20.     The Trustee and Quinlan entered into discussions on the sale of the Ventech

Building. Quinlan, through PM3D, made an offer that matched the Mann contract, provided an

additional $25,000 over the Mann contract to satisfy the Mann break-up fee, and has no

conditions to closing other than Bankruptcy Court approval.



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       21.     On June 8, 2018, the Trustee and PM3D entered the PM3D Purchase Agreement.

On the same day, PM3D deposited the full purchase price in the amount of $1,575.000.00 with

the Title Company.

       E.      Expenses Related to the Proposed Sale.

       22.     In order to market the Ventech Building, the Trustee had to obtain a survey. On

or about September 7, 2017, the Trustee hired Weisser Engineering, Inc. (“Weisser”) to conduct

a survey of the Ventech Building. As detailed in Weisser’s invoice for the survey attached to the

Original Motion as Exhibit C, the survey cost $3,485.65.

       23.     The Trustee submits that securing a survey was necessary to administer the

Ventech Building and ensure that it could be properly marketed. Accordingly, the Trustee

requests authorization to pay Weisser’s invoice from the proceeds of the sale of the Assets.

Bank of America consents to the Trustee’s proposed payment to Weisser.

       24.     The Trustee also seeks authority to pay the commission owed to M&M and all

other customary closing costs incurred by a seller in connection with the sale. These closing

costs are detailed in Section 3 of the PM3D Purchase Agreement.

                                    AUCTION PROCESS

       25.     In the event the Trustee receives another offer that is competitive with the PM3D

Purchase Agreement prior to the hearing on this Amended Motion, the Trustee may ask the

Court to adjourn the hearing on this Amended Motion so the Trustee may conduct an auction and

return to the Court immediately afterwards to obtain an order approving the sale to the highest

bidder (the “Successful Bidder”). The Trustee proposes that the auction process proceed as set

forth in the Original Motion.

                            STALKING HORSE PROTECTIONS

       26.     As set forth in the Original Motion, the Trustee seeks authority to pay up to

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$25,000 to Mann for reimbursement of his out-of-pocket expenses as a break-up fee.

       27.     In addition, as mentioned above, the Trustee may receive other Competitive

Offers for the Assets. If the Trustee sells the Assets to a party other than PM3D, the Trustee

seeks authority to pay PM3D up to $25,000 to reimburse PM3D for its out-of-pocket expenses

arising from the transaction (the “Break-Up Fee”).

       28.     PM3D has presented a competitive bid and has expended time and effort to

finalize the terms of the PM3D Purchase Agreement. If another party ultimately submits a

higher or otherwise better bid, that bidder will necessarily have benefited from PM3D’s work

and negotiations. PM3D has established a floor for future bids, directly benefitting the Debtors’

estates. For these reasons, the Trustee seeks authority to pay the Break-Up Fee.

                                            NOTICE

       29.     The Trustee has provided notice of this Motion to (i) Mann, (ii) PM3D, (iii) Bank

of America, the Debtors’ pre-petition secured creditor, (iv) the Office of the United States

Trustee for the Southern District of Texas; (v) to all entities known by the Trustee to have

expressed an interest in a transaction with respect to the Assets since the Petition Date; and

(vi) all parties set forth in the Debtors’ Service List maintained in these cases, including all the

parties requesting notice pursuant to rule 2002 of the Bankruptcy Rules

                       RELIEF REQUESTED AND BASIS THEREFOR

       30.     By this Amended Motion, the Trustee requests the entry of an order, substantially

in the form attached hereto, (i) authorizing the sale of the Assets to PM3D; (ii) authorizing

payment for survey, the M&M commission, and other customary closing costs incurred in

connection with the sale; and (iii) approving, if necessary, the auction process and break-up fee

contemplated herein.



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       A.      The Sale of the Assets Pursuant to the PM3D Purchase Agreement Should Be
               Authorized.

       31.     A trustee may sell, after notice and a hearing, a debtor’s assets outside the

ordinary course of business. 11 U.S.C. § 363. Courts apply a business judgement standard when

considering the trustee’s sale of property under section 363.      In re ASARCO, L.L.C., 650 F.3d

593, 601 (5th Cir. 2011) (“for the debtor-in-possession or trustee to satisfy its fiduciary duty to

the debtor, creditors and equity holders, there must be some articulated business justification for

using, selling, or leasing the property outside the ordinary course of business”) (citing In re

Cont’l Air Lines, Inc., 780 F.2d 1223, 1226 (5th Cir. 1986)).

       32.     The Trustee’s proposed sale of the Assets is a sound exercise of his business

judgment. First, selling the Assets is in the best interests of the Debtors’ estates and their

creditors. The Debtors have no assets other than the Assets and certain legal claims. Therefore,

if the estates’ creditors are to receive any distributions, the Assets must be liquidated.

       33.     Second, accurate and reasonable notice of PM3D’s offer and the fact that the

Ventech Building is for sale has been given. The Trustee employed M&M to ensure that the

Ventech Building was properly marketed. The Building has been on the market for nine months.

Further, notice of this Motion will have been disseminated as described above.

       34.     Third, the price that PM3D will pay for the Assets pursuant to the PM3D

Purchase Agreement is reasonable. PM3D’s offer represents the highest offer that the Trustee

has received for the Assets. Moreover, in the event that the Trustee receives a Competitive Offer

prior to the hearing on this Motion, the Trustee intends to conduct an auction of the Assets to

confirm that the estates are receiving the highest or otherwise best offer for the Assets. The

optional auction process ensures that the Trustee can finalize the sale to PM3D if no Competitive

Offers are received.


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        35.        Fourth, both the Trustee and PM3D have acted in good faith. PM3D’s offer came

as a result of a public marketing process conducted by the Trustee and M&M.

        36.        Additionally, the Trustee believes that PM3D’s purchase of office equipment for

$75,000, which includes the amount for the $25,000 break-up fee for Mann, is further reason to

approve the sale. If PM3D were not purchasing those items, the Trustee would have to incur

expenses transporting, auctioning, or otherwise disposing of them. The Trustee cannot guarantee

that he would achieve a net return for the Debtors’ estates in excess of $75,000. Thus, the

Trustee believes that selling the personal property to PM3D will result in the best return for

creditors.

        37.        Accordingly, in the exercise of his reasonable business judgment, the Trustee has

concluded that the sale of the Assets to PM3D is in the best interests of the Debtors’ estates and

their creditors.

        B.         PM3D Should Be Granted the Protections of § 363(m) of the Bankruptcy
                   Code.

        38.        Bankruptcy Code Section 363(m) provides that:

                   [t]he reversal or modification on appeal of an authorization under
                   subsection (b) or (c) of this section of a sale or lease of property does not
                   affect the validity of a sale or lease under such authorization to an entity
                   that purchased or leased such property in good faith, whether or not such
                   entity knew of the pendency of the appeal, unless such authorization and
                   such sale or lease were stayed pending appeal.
11 U.S.C. § 363(m).
        39.        While the Bankruptcy Code does not define “good faith,” “[t]he requirement that

a purchaser act in good faith . . . speaks to the integrity of his conduct in the course of the sale

proceedings. Typically, the misconduct that would destroy a purchaser’s good faith status at a

judicial sale involves fraud, collusion between the purchaser and other bidders or the trustee, or



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an attempt to take grossly unfair advantage of other bidders.” In re Abbotts Dairies of Pa., Inc.,

788 F.2d 143, 147 (3d Cir. 1986) (citations omitted); see generally Marin v. Coated Sales, Inc.,

(In re Coated Sales, Inc.), Case No. 89-3704 (KMW), 1990 WL 212899 (S.D.N.Y. Dec. 13,

1990) (holding that a party, to show lack of good faith, must demonstrate “fraud, collusion, or an

attempt to take grossly unfair advantage of other bidders”); see also In re Sasson Jeans, Inc., 90

B.R. 608, 610 (S.D.N.Y. 1988) (quoting In re Bel Air Assocs., Ltd., 706 F.2d 301, 305 (10th Cir.

1983)); In re Pisces Leasing Corp., 66 B.R. 671, 673 (E.D.N.Y. 1986) (examining facts of each

case, concentrating on “integrity of [an actor’s] conduct during the sale proceedings” (quoting In

re Rock Indus. Mach. Corp., 572 F.2d 1195, 1198 (7th Cir. 1978)).

       40.     M&M facilitated the process to locate PM3D. PM3D negotiated and dealt with

the Trustee at arm’s length. Under these circumstances, this Court should find in the order

approving the sale of the Assets that PM3D is entitled to all of the protections of § 363(m).

       C.      The PM3D Purchase Agreement is Not the Result of Collusive Bidding
               Under § 363(n) of the Bankruptcy Code.

       41.     As set forth above, the Trustee and PM3D negotiated at arm’s length and in good

faith. Nothing suggests that the terms of PM3D’s offer were the result of collusion or other bad

faith between potential offerors or that the sale price is controlled by an agreement between

potential or actual bidders within the meaning of Bankruptcy Code Section 363(n).

       D.      Sale of the Assets Should Be Free and Clear of Claims and Interests.

       42.     Pursuant to Section 363(f) of the Bankruptcy Code, the Trustee seeks authority to

sell and transfer the Assets to PM3D free and clear of all liens, claims, or encumbrances, except

certain Permitted Exceptions as otherwise provided in the PM3D Purchase Agreement. Such

liens, claims, and encumbrances shall attach to the proceeds of the sale of the Assets, subject to

any rights and defenses of the Trustee and other parties-in-interest with respect thereto.

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       43.      Section 363(f) of the Bankruptcy Code provides that:

             The trustee may sell property under subsection (b) or (c) of this section
             free and clear of any interest in such property of an entity other than the
             estate, only if –
             (1) applicable nonbankruptcy law permits sale of such property free and
             clear of such interest;

             (2) such entity consents;

             (3) such interest is a lien and the price at which such property is to be sold
             is greater than the aggregate value of all liens on such property;

             (4) such interest is in bona fide dispute; or

             (5) such entity could be compelled, in a legal or equitable proceeding, to
             accept a money satisfaction of such interest.

11 U.S.C. § 363(f). See also In re Elliot, 94 B.R. 343, 345 (E.D. Pa. 1988) (holding that because

Section 363(f) is written in the disjunctive, a court may approve a sale “free and clear” if at least

one of the requirements is met).

       44.      Here, Bank of America has consented to the sale of the Assets free and clear

under § 363(f) of the Bankruptcy Code. Furthermore, any holder of a claim or interest that

receives notice of the sale and which fails to object to the sales of the Assets free and clear of

liens, claims, or encumbrances should be deemed to consent to the sales, thereby complying with

§ 363(f)(2) of the Bankruptcy Code.

       E.       Waiver of Automatic Fourteen-Day Stay Under Bankruptcy Rules 6004(h)
                and 6006(d).

       45.      Pursuant to Bankruptcy Rule 6004(h), unless the Court orders otherwise, all

orders authorizing the sale of property pursuant to § 363 of the Bankruptcy Code are

automatically stayed for fourteen (14) days after entry of the order. The purpose of Bankruptcy

Rules 6004(h) is to provide sufficient time for an objecting party to request a stay pending appeal


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before the order can be implemented. See Advisory Committee Notes to Fed. R. Bankr. P.

6004(h).

       46.     Although Bankruptcy Rule 6004(h) and the Advisory Committee Notes are silent

as to when a court should “order otherwise” and eliminate or reduce the 14-day stay period,

commentators agree that the 14-day stay period should be eliminated to allow a sale or other

transaction to close immediately where there has been no objection to the procedure. See

generally 10 Collier on Bankruptcy ¶ 6004.09 (15th ed. 1999). Furthermore, if an objection is

filed and overruled, and the objecting party informs the court of its intent to appeal, the stay may

be reduced to the amount of time necessary to file such appeal. Id.

       47.     The PM3D Purchase Agreement provides that closing may occur within one

business day after the entry of an order approving the sale of the Assets. To ensure there are no

delays in closing, waiver of any applicable stays is appropriate in this case.

       F.      Payment of Survey and Other Customary Closing Costs from the Proceeds of
               the Sale is Appropriate.

       48.     Pursuant to Bankruptcy Code § 503(b)(1)(A), amounts representing “actual,

necessary costs and expenses of preserving the estate” shall be allowed as administrative

expenses. Further, § 105(a) states that a court “may issue any order, process, or judgment that is

necessary or appropriate to carry out the provisions of” the Bankruptcy Code.

       49.     The Trustee had to obtain a survey of the Ventech Building that could be provided

to a buyer entering into an agreement to purchase the Ventech Building. The Trustee hired

Weisser to conduct the survey, which was completed on or about September 2017. Because

obtaining the survey was a necessary part of selling the Ventech Building, the survey expenses

should be allowed as administrative expenses and paid out of the proceeds of the sale of the

Ventech Building.

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       50.     The Trustee also seeks authority to pay the commission owed to M&M from the

sale proceeds. The Court has considered and approved the retention of M&M as real estate

broker to the Trustee. M&M has worked for many months to identify a suitable buyer for the

building. It is customary to pay real estate commissions from the proceeds of the sale of the

property. In light of the foregoing, the Trustee seeks authority to pay the M&M commission

from the sale proceeds.

       51.     Finally, the PM3D Purchase Agreement provides that the Trustee shall be

responsible for payment of certain closing costs. These closing costs are customarily incurred by

a seller of real property and should be approved as an administrative expense.

       G.      Payment of the Break-Up Fee Is Appropriate.

       52.     The Trustee seeks authorization to pay a break-up fee to Mann in the amount up

to $25,000 for Mann’s out-of-pocket expenses in connection with the sale.        Mann’s initial bid

helped facilitate the estates’ receipt of the bid from PM3D.

       53.      The Trustee also seeks authorization to pay the Break-up Fee to PM3D in the

event that the Assets are not sold to PM3D because a superior competitive bid is made.

Approval of break-up fees in connection with the sale of significant assets pursuant to § 363 of

the Bankruptcy Code is appropriate to protect a potential purchaser from competing purchasers

that use a prior offer as a baseline to submit a better offer without undertaking customary

diligence. See In re Metaldyne Corp., 409 B.R. 661, 670 (Bankr. S.D.N.Y. 2009).

       54.     Bankruptcy courts have approved bidding incentives similar to the break-up fee

under the business judgment rule, which proscribes judicial second-guessing of the actions of

the Debtor taken in good faith and in the exercise of its business judgment. See e.g., In re

ASARCO LLC, 441 B.R. 813, 832 (S.D. Tex. 2010), aff'd sub nom. In re ASARCO, L.L.C., 650


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F.3d 593 (5th Cir. 2011).

       55.     PM3D’s offer has established a floor for any future bidding. Thus, even if PM3D

ultimately is not the successful bidder, the Debtors’ estates will have benefited from the higher

floor established by the improved bids.       Furthermore, PM3D’s efforts in negotiating and

finalizing the PM3D Purchase Agreement have established a baseline against which any future

bids will be compared. The size of the Break-Up Fee (1.67% of the purchase price) is also

reasonable. See In re TXCO Resources, Inc., Case No. 09-51807-rbk, ECF No. 813 (Bankr.

W.D. Tex. Nov. 30, 2009) (approving a 3% break-up fee for the purchase of an ongoing

business); In re TWTR, Inc., Case No. 07–10787(PJW) (Bankr. D. Del. June 26, 2007), ECF No.

212 (approving a combined 3% break-up fee and expense reimbursement).

       56.     For these reasons, the Trustee requests authority to pay a Break-Up Fee to PM3D

in the event that the Assets are sold to another competitive bidder.



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                                         CONCLUSION

       WHEREFORE, the Trustee respectfully requests that this Court (a) enter an order

substantially in the form attached hereto authorizing (i) the sale of the Assets to PM3D;

(ii) payment of the survey, the M&M commission and other customary closing costs incurred in

connection with the sale; and (iii) if necessary, the auction process and Break-Up Fee

contemplated herein; and (b) grant such other and further relief as it deems just and proper.

Dated: June 13, 2018
                                                     Respectfully submitted,
                                                     DIAMOND McCARTHY LLP

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                                                     Counsel for Rodney D. Tow, Chapter 7
                                                     Trustee for Ventech Engineers, L.P. et al.




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                                CERTIFICATE OF SERVICE
       I, Charles M. Rubio, certify that a copy of this Motion was served on the parties in the
attached service list by the method indicated within one business day of the filing of this Motion.
                                                            /s/ Charles M. Rubio




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                            Exhibit D

                     PM3D Purchase Agreement
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                       PROPOSED ORDER
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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


In re:                                                    §
                                                          §
VENTECH ENGINEERS,                                        §             Case No. 17-33203
L.P. et al., 1                                            §
                                                          §             Jointly Administered
                          DEBTORS.                        §
                                                          §             (Chapter 7)


     ORDER APPROVING SALE OF CERTAIN OF THE DEBTORS’ ASSETS AND
    AUTHORIZING PAYMENT OF CERTAIN EXPENSES RELATED TO THE SALE

         Upon consideration of the motion, as supplemented (the “Motion”) 2 [ECF No. ____]

filed by Rodney D. Tow, chapter 7 trustee (the “Trustee”) for the estates of the Debtors seeking

entry of an order authorizing and approving, among other things, the sale (the “Sale”) of real

property located at 100 Pasadena Boulevard, Pasadena, Texas 77506 (the “Building”) and certain

personal property located therein (collectively, the “Assets”), pursuant to that certain Earnest

Money Contract dated June 7, 2018, 2018 (the “Purchase Agreement”) attached hereto as Exhibit

A, by and between the Trustee and Pasadena Mall 3M, LLC and his assigns (the “Buyer”); and

this Court having determined that the relief requested in the Motion is in the best interests of the

Debtors, their estates, their creditors, and other parties-in-interest; and after due deliberation



1
         The names of the debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal
         tax identification number, are: Ventech Engineers L.P. (0943); Ventech Engineers LLC (7644); Ventech
         Fabrication Services LLC (6482); Ventech Engineers International LLC (5030); Ventech Energy LLC
         (1829); Ventech Engineers North America LLC (7325); Ventech Engineers USA LLC (7499); Ventech
         Vessel Fabricators LLC (6525); Ventech Global Projects, Inc. (9146); Ventech International Projects LLC
         (2187); Ventech Global Construction, LLC (0736); Ventech Modular Fabricators LLC (2960); Ventech
         Refining Solutions LLC (6454); Ventech Plant Constructors LLC (5107); Ventech Engineers &
         Fabricators, LLC (2106); Ventech Industrial Contractors, LLC (6482); Ventech XTL LLC (2500); and
         Ventech XTL Oklahoma City LLC (5549).
2
         Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion
         or the Purchase Agreement, as applicable.
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thereon, and good and sufficient cause appearing therefor, including for the reasons stated on the

record at the hearing seeking approval of the Sale (the “Sale Hearing”):

IT IS HEREBY FOUND AND DETERMINED THAT: 3

       A.      The Court has jurisdiction to hear and determine the Motion and to grant the relief

requested in the Motion pursuant to 28 U.S.C. § 1334. Venue of these chapter 7 cases and the

Motion in this district is proper under 28 U.S.C. §§ 1408 and 1409. This is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2).

       B.      The statutory and legal predicates for the relief requested in the Motion are

§§ 105, 363 and 365 of title 11 of the United States Code, 11 U.S.C. §§ 101‒1532 (as amended,

the “Bankruptcy Code”), and Rules 2002, 6004, 6006, 9006 and 9014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).

       C.      The notice given by the Trustee of the Motion constitutes good and sufficient

notice of the relief granted by this Order and no further notice is required.

       D.      The Buyer is purchasing the Assets in good faith and is a good-faith Buyer within

the meaning of § 363(m) of the Bankruptcy Code.

       E.      The Trustee’s determination that the Purchase Agreement constitutes the highest

and best offer for the Assets constitutes a valid and sound exercise of the Trustee’s business

judgment.

       F.      Good cause exists to grant the Trustee’s request for authorization to pay for

certain expenses that the Debtors’ estates have incurred or will incur in connection with

preparing the Assets for sale including the costs for the survey.




3
       Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as
       findings of fact to the fullest extent of the law. See Fed. R. Bankr. P. 7052.

                                                     3
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       G.      [The Trustee has demonstrated compelling and sound business justifications for

paying the Break-Up Fee to Inderbir S. Mann, and the Break-Up Fee is fair and reasonable and

provides a benefit to the Debtors’ estates and creditors.]

       H.      [The payment of the Break-Up Fee is (a) an actual and necessary cost of

preserving the Debtors’ estates, within the meaning of § 503(b) of the Bankruptcy Code, (b) of

substantial benefit to the Debtors’ estates and creditors and all parties-in-interest, and (c)

reasonable and appropriate. Accordingly, to the extent the Break-UP Fee becomes due and

payable, it shall constitute an administrative expense claim against the Debtors’ estates with

priority pursuant to §§ 503(b) and 507(a)(2) of the Bankruptcy Code.]

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED THAT:

       1.      Pursuant to §§ 105(a), 363(b), and 363(f) of the Bankruptcy Code, the Trustee is

authorized to sell and transfer all of the Debtors’ right, title and interest in and to the Assets to

the Buyer in accordance with the Purchase Agreement (including any ancillary documents) and

such Sale and transfer shall vest the Buyer with all right, title, and interest of the Debtors to the

Assets, free and clear of all Liens, Claims, and other interests in and on the Assets pursuant to

§ 363(f) of the Bankruptcy Code except for Permitted Exceptions (defined below).

       2.      Except for the Permitted Exceptions, all other liens or other interests in or on the

Assets attach to the net cash proceeds of the Sale.

       3.      The Trustee is hereby authorized to take any and all actions necessary to

consummate the transactions contemplated by the Purchase Agreement (including any ancillary

documents) and this Order including executing and delivering a special warranty deed to the

Buyer substantially in the form attached hereto as Exhibit B.

       4.      The sale of the Building is subject to the permitted exceptions (the “Permitted

Exceptions”) set forth in Exhibit B.
                                                 4
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           5.    The Trustee is authorized to pay the commission owed to March & Millichap

Real Estate Investment Services from the proceeds of the Sale of the Assets.

           6.    Following the Closing of the transaction contemplated in the Purchase

Agreement, the Trustee shall file a notice on the docket in this case to report the closing of the

Sale (the “Sale Notice”).

           7.    The terms of this Order shall be binding on and inure to the benefit of the Trustee,

the Buyer, all creditors and all other parties-in-interest, and any assigns or successors of such

parties.

           8.    Notwithstanding any provision in the Bankruptcy Rules to the contrary, the terms

of this Order shall be immediately effective and enforceable upon its entry and not subject to any

stay, notwithstanding the possible applicability of Bankruptcy Rules 6004(h) and 6006(d) or

otherwise.

           9.    To the extent that this Order is inconsistent with the Purchase Agreement or any

prior order or pleading with respect to the Motion in these chapter 7 cases, the terms of this

Order shall govern.

           10.   The Trustee is authorized to pay to Weisser Engineering Company, Inc. from the

proceeds of the Sale of the Assets for performing a survey of the Assets. All amounts to be paid

to Weisser Engineering Company, Inc. constitute administrative expenses under §§ 503(b) and

507(a)(2) of the Bankruptcy Code, and are immediately payable, without any further order of the

Bankruptcy Court.

           11.   The Trustee is authorized to pay any other costs and expenses that are customarily

incurred and paid by a Seller in connection with a real estate closing including those expenses

specified in Section 3 of the Purchase Agreement.



                                                  5
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       12.     [The Break-Up Fee is allowed as an administrative expense against the Debtors’

estates. The Trustee shall be authorized to pay the Break-Up Fee in the amount of $25,000 to

Inderbir S. Mann after the closing of the Sale.]

       13.     The ad valorem tax liens of Harris County for the 2018 tax year are hereby

expressly retained against the real and personal property until payment is made to fully satisfy

the 2018 ad valorem taxes, and any penalties or interest which may ultimately accrue to those

2018 taxes.

       14.     After the Closing, Buyer shall have all of the rights of the Seller to pursue the ad

valorem tax valuation for the property for the 2018 tax year.

       15.     The Court shall retain jurisdiction to, among other things, interpret, implement,

and enforce the terms and provisions of this Order, the Purchase Agreement, all amendments

thereto, and any waivers and consents thereunder, and each ancillary document executed in

connection therewith to which the Trustee is a party, and to adjudicate, if necessary, any and all

disputes concerning or relating in any way to the Sale, including, but not limited to, retaining

jurisdiction to (a) compel delivery of the Assets to the Buyer, (b) interpret, implement, and

enforce the provisions of this Order, and (c) protect the Buyer against any liens or claims in or

against the Debtors or the Assets any kind or nature whatsoever; provided, however, that in the

event the Court abstains from exercising or declines to exercise jurisdiction or is without

jurisdiction, such abstention, refusal or lack of jurisdiction shall have no effect upon and shall

not control, prohibit or limit the exercise of jurisdiction of any other court having competent

jurisdiction with respect to any such matter.

       Dated:______________________, 2018



                                                UNITED STATES BANKRUPTCY JUDGE
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                           EXHIBIT A

                        Purchase Agreement
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                           EXHIBIT B

                   Form of Special Warranty Deed
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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON,
YOU MAY REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING
INFORMATION FROM ANY INSTRUMENT THAT TRANSFERS AN INTEREST IN
REAL PROPERTY BEFORE IT IS FILED FOR RECORD IN THE PUBLIC RECORDS:
YOUR SOCIAL SECURITY NUMBER OR YOUR DRIVER’S LICENSE NUMBER.

                                 SPECIAL WARRANTY DEED


STATE OF TEXAS                         §
                                       §       KNOW ALL MEN BY THESE PRESENTS:
COUNTY OF HARRIS                       §

        RODNEY D. TOW, solely in his capacity as chapter 7 trustee for the estate of Ventech
Engineers International LLC (“Grantor”), a debtor in the bankruptcy cases jointly administered
as In re Ventech Engineers, L.P. et al., pending before the United States Bankruptcy Court for
the Southern District of Texas, Case No. 17-33203 (the “Bankruptcy Case”), for and in
consideration of the sum of $10 and other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, has GRANTED, BARGAINED, SOLD, and
CONVEYED and by these presents does GRANT, BARGAIN, SELL, AND CONVEY unto [●]
(“Grantee”), that certain property in Harris County, Texas, fully described in Exhibit A hereto,
together with all improvements, if any, thereon and all rights appurtenances appertaining thereto
(collectively, the “Property”) pursuant to that certain Order Approving Sale of Certain of the
Debtors’ Assets and Authorizing Payment of Certain Expenses Related To the Sale [ECF No. ●]
(the “Bankruptcy Order”) entered in the cases styled as In re Ventech Engineers, L.P. et al. as
Case No. 17-33203 in the U.S. Bankruptcy Court for the Southern District of Texas.

       This Special Warranty Deed and the conveyance hereinabove set forth is made and
accepted subject to all items on Exhibit B attached hereto, to the extent same are valid and affect
the Property (the “Permitted Encumbrances”).

TO HAVE AND TO HOLD the Property, subject to the Permitted Exceptions as aforesaid, unto
Grantee, and Grantee’s successors and assigns, forever; and Grantor does hereby bind Grantor,
and Grantor’s successors and assigns, to WARRANT and FOREVER DEFEND, all and
singular, the Property, subject to the Permitted Exceptions unto Grantee, and Grantee’s
successors and assigns, against every person whomsoever lawfully claiming or to claim the same
or any part thereof by, through or under Grantor, but not otherwise.

Except as specifically stated herein, Grantor hereby specifically disclaims any warranty,
guaranty, or representation, oral or written, past, present or future, of, as, to, or concerning (i) the
nature and condition of the Property, including but not by way of limitation, the water, soil,
geology and the suitability thereof, and of the Property, for any and all activities and uses which
Grantee may elect to conduct thereon or any improvements Grantee may elect to construct
thereon, income to be derived therefrom or expenses to be incurred with respect thereto, or any
obligations or any other matter or thing relating to or affecting the same; (ii) the manner of
construction and condition and state of repair or lack of repair of any improvements located
thereon; (iii) except for any warranties contained herein, the nature and extent of any easement,
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right-of-way, lease, possession, lien, encumbrance, license, reservation, condition or otherwise;
and (iv) the compliance of the Property or the operation of the Property with any laws, rules,
ordinances, or regulations of any government or other body. THE CONVEYANCE OF THE
PROPERTY AS PROVIDED FOR HEREIN IS MADE ON AN “AS IS” BASIS, AND
GRANTEE ACKNOWLEDGES THAT, IN CONSIDERATION OF THE AGREEMENTS OF
GRANTOR HEREIN, EXCEPT AS OTHERWISE SPECIFIED HEREIN, GRANTOR MAKES
NO WARRANTY OR REPRESENTATION, EXPRESS OR IMPLIED, OR ARISING BY
OPERATION OF LAW, INCLUDING, BUT IN NO WAY LIMITED TO, ANY WARRANTY
OF CONDITION, HABITABILITY, MERCHANTABILITY, OR FITNESS FOR A
PARTICULAR PURPOSE OF THE PROPERTY.

Grantee, by its acceptance hereof, does hereby assume and agree to pay any and all outstanding
ad valorem taxes pertaining to the Property.



                                    [signature page follows]
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       EXECUTED as of _________ __, 2018.




                                           RODNEY D. TOW, SOLELY IN HIS CAPACITY
                                           AS CHAPTER 7 TRUSTEE FOR THE ESTATE
                                           OF VENTECH ENGINEERS INTERNATIONAL
                                           LLC


                                           By:
                                           Name: Rodney D. Tow
                                           Title: Chapter 7 Trustee




STATE OF TEXAS              §
                            §
COUNTY OF HARRIS            §


        This instrument was acknowledged before me on this ___ day of _______, 2018, by
Rodney D. Tow, solely in his capacity as chapter 7 trustee for the estate of Ventech Engineers
International LLC.


                                           __________________________________________
                                            Notary Public, State of Texas
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                                             Exhibit A
                                        Property Description

Tract I:

Being an 8.320-acre (362,437 Square Foot) tract of land situated in the William Vince Survey,
A-78, Harris County, Texas. Said 8.320-acre tract being all of a called 9.8925-acre tract of land
(Save & Except 1.5750 Acres), conveyed to Ventech Engineers International, LLC, by deed
recorded under Harris County Clerk’s File No. 20130215729, Film Code No. ER 044-30- 0342
of the Official Public Records of Real Property, Harris County, Texas, and being more
particularly described by metes and bounds as follows, with the basis of bearings being the Texas
State Plane Coordinate System, South Central Zone No. 4204 (NAD 83), coordinates shown
hereon are grid coordinates and may be converted to surface by applying the combined scale
factor of 1.000113904. All distances are surface distances;

BEGINNING (N=13,820,657.52; E=3,174,382.89) at a 5/8-inch iron rod with cap stamped
“WEISSER ENG HOUSTON, TX” set in the east right-of-way line of Pasadena Boulevard
(Right-of-Way Varies), for the southwest corner of a called 1.0743-acre tract of land conveyed to
Portal LLC, by deed recorded under Harris County Clerk’s File No. V05 1839, Film Code No.
XXX-XX-XXXX of the Official Public Records of Real Property, Harris County, Texas, for the most
westerly northwest corner of said 9.8928-acre tract and for the most westerly northwest corner of
said tract herein described;

THENCE North 87 deg. 27 min. 24 sec. East, with the south line of said 1.0743-acre tract, with a
north line of said 9.8928-acre tract and with a north line of said tract herein described, a distance
of 175.00 feet to a 5/8-inch iron rod found for the southeast corner of said 1.0743-acre tract and
for an interior angle point of said tract herein described;

THENCE North 02 deg. 28 min. 41 sec. West, with the east line of said 1.0743-acre tract, with a
west line of said 9.8928-acre tract and with a west line of said tract herein described, a distance
of 145.04 feet to a 5/8-inch iron rod (CM) found for the southwest corner of a called 2.2833-acre
tract of land conveyed to Sears, Roebuck and Co., by deed recorded under Harris County Clerk’s
File No. S146981, Film Code No. XXX-XX-XXXX of the Official Public Records of Real Property,
Harris County, Texas, for the most northerly northwest corner of said 9.8928-acre tract and for
the most northerly northwest corner of said tract herein described;

THENCE North 87 deg. 29 min. 58 sec. East, with the south line of said 2.2833-acre tract, with a
north line of said 9.8928-acre tract and with a north line of said tract herein described, a distance
of 322.71 feet (called 322.50 feet) to a mag nail with shiner stamped “Terra Surveying” (CM)
found for a northwest corner of a called 26.89-acre tract of land conveyed to 2015 Shopping
Mall Business, LLC, by deed recorded under Harris County Clerk’s File No. 20150349777, Film
Code No. XXX-XX-XXXX of the Official Public Records of Real Property, Harris County, Texas,
for the most northerly northeast corner of said 9.8928-acre tract and for the most northerly
northeast corner of said tract herein described;
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THENCE South 02 deg. 25 min. 28 sec. East, with the west line of said 26.89-acre tract, with the
east line of said 9.8928-acre tract and with an east line of said tract herein described, a distance
of 98.46 feet to a mag nail with shiner stamped “Terra Surveying” (CM) found for an interior
angle point of said tract herein described;

THENCE South 67 deg. 34 min. 06 sec. East, with a southwest line of said 26.89-acre tract, with
a northeast line of said 9.8928-acre tract and with a northeast line of said tract herein described, a
distance of 69.58 feet to a mag nail with shiner stamped “Terra Surveying” found for an angle
point of said tract herein described;

THENCE South 27 deg. 34 min. 06 sec. East, with a southwest line of said 26.89-acre tract, with
a northeast line of said 9.8928-acre tract and with a northeast line of said tract herein described, a
distance of 60.65 feet to a mag nail with shiner stamped “Terra Surveying” found for an interior
angle point of said tract herein described;

THENCE South 67 deg. 34 min. 06 sec. East, with a southwest line of said 26.89-acre tract, with
a northeast line of said 9.8928-acre tract and with a northeast line of said tract herein described, a
distance of 60.65 feet to a mag nail with shiner stamped “Terra Surveying” found for an angle
point of said tract herein described;

THENCE South 27 deg. 34 min. 06 sec. East, with a southwest line of said 26.89-acre tract, with
a northeast line of said 9.8928-acre tract and with a northeast line of said tract herein described, a
distance of 60.65 feet to a mag nail with shiner stamped “Terra Surveying” found for an interior
angle point of said tract herein described;

THENCE South 67 deg. 34 min. 06 sec. East, with a southwest line of said 26.89-acre tract, with
a northeast line of said 9.8928-acre tract and with a northeast line of said tract herein described, a
distance of 60.65 feet to a mag nail with shiner stamped “Terra Surveying” found for an angle
point of said tract herein described;

THENCE South 27 deg. 34 min. 06 sec. East, with a southwest line of said 26.89-acre tract, with
a northeast line of said 9.8928-acre tract and with a northeast line of said tract herein described, a
distance of 60.77 feet (called 60.65 feet) to a mag nail with shiner stamped “Terra Surveying”
(CM) found for the most easterly corner of said 9.8928-acre tract and for the most easterly corner
of said tract herein described;

THENCE South 42 deg. 25 min. 54 sec. West, with a northwest line of said 26.89-acre tract,
with a southeast line of said 9.8928-acre tract and with a southeast line of said tract herein
described, a distance of 116.33 feet to a mag nail with shiner stamped “Terra Surveying” found
for an interior angle point of said tract herein described;

THENCE South 47 deg. 34 min. 06 sec. East, with a southwest line of said 26.89-acre tract, with
a northeast line of said 9.8928-acre tract and with a northeast line of said tract herein described, a
distance of 39.79 feet to a cut “X” (CM) found for an angle point of said tract herein described;
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THENCE South 42 deg. 31 min. 35 sec. West, with a northwest line of said 26.89-acre tract,
with a southeast line of said 9.8928-acre tract and with a southeast line of said tract herein
described, a distance of 64.74 feet (called 64.50 feet) to a cut “X” (CM) found for an angle point
of said tract herein described;

THENCE North 47 deg. 28 min. 25 sec. West, with a northeast line of said 26.89-acre tract, with
a southwest line of said 9.8928-acre tract and with a southwest line of said tract herein described,
a distance of 44.88 feet (called 45.00 feet) to a cut “Arrow” set for an interior angle point of said
tract herein described;

THENCE South 42 deg. 28 min. 10 sec. West, with a northwest line of said 26.89-acre tract,
with a southeast line of said 9.8928-acre tract and with a southeast line of said tract herein
described, a distance of 299.33 feet (called 299.55 feet) to a cut “X” (CM) found for the
northeast corner of a called 1.5750-acre tract of land conveyed to The Variable Annuity Life
Insurance Company, by deed recorded under Harris County Clerk’s File No. S146979, Film
Code No. XXX-XX-XXXX of the Official Public Records of Real Property, Harris County, Texas,
and for the southeast corner of said tract herein described;

THENCE South 87 deg. 35 min. 52 sec. West, over and across said 9.8928-acre tract, with a
north line of said 1.5750-acre tract and with a south line of said tract herein described, a distance
of 72.05 feet to a mag nail with shiner stamped “Terra Surveying” (CM) found for an angle point
of said tract herein described;

THENCE North 02 deg. 32 min. 19 sec. West, over and across said 9.8928-acre tract, with the
east line of said 1.5750-acre tract and with a west line of said tract herein described, a distance of
36.24 feet to a mag nail with shiner stamped “Terra Surveying” (CM) found for an interior angle
point of said tract herein described;

THENCE North 47 deg. 04 min. 07 sec. West, over and across said 9.8928-acre tract, with the
northeast line of said 1.5750-acre tract and with a southwest line of said tract herein described, a
distance of 22.33 feet (called 22.45 feet) to a mag nail with shiner stamped “Terra Surveying”
(CM) found for an interior angle point of said tract herein described;

THENCE South 87 deg. 26 min. 05 sec. West, over and across said 9.8928-acre tract, with a
north line of said 1.5750-acre tract and with a south line of said tract herein described, a distance
of 269.05 feet to a mag nail with shiner stamped “Terra Surveying” found for the most northerly
northwest corner of said 1.5750-acre tract and for an interior angle point of said tract herein
described;

THENCE South 02 deg. 31 min. 46 sec. East, over and across said 9.8928-acre tract, with a west
line of said 1.5750-acre tract and with an east line of said tract herein described, a distance of
69.08 feet to a mag nail with shiner stamped “Terra Surveying” found for an angle point of said
tract herein described;

THENCE South 87 deg. 28 min. 14 sec. West, over and across said 9.8928-acre tract, with a
north line of said 1.5750-acre tract and with a south line of said tract herein described, a distance
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of 47.24 feet to a cut “X” set in the east right-of-way line of said Pasadena Boulevard, for the
most westerly northwest corner of said 1.5750-acre tract and for the southwest corner of said
tract herein described;

THENCE North 02 deg. 35 min. 06 sec. West, with the east right-of-way line of said Pasadena
Boulevard, with a west line of said 9.8928-acre tract and with a west line of said tract herein
described, a distance of 552.05 feet to the POINT OF BEGINNING and containing 8.320 acres
(362,437 Square Feet) of land.

Tract II:

Easement and other rights appurtenant to Tract I, as created in Operating Agreement filed for
record under Harris County Clerk’s File No. G951778; and being assigned to Dillard Texas
Operating Limited Partnership now Dillard Texas, LLC by assignment filed for record under
Harris County Clerk’s File No. R771411 and change of name by Certificate of Merger; and
being amended by agreement filed for record under Harris County Clerk’s File No. S146982.
Assignment and Assumption of Operating Agreements to Dillard Texas East, LLC as set forth by
instrument dated December 31, 2010, recorded under Harris County Clerk’s File No.
20130215727. Assignment and Assumption of Operating Agreements to Ventech Engineers
International, LLC, a Texas limited liability company, as set forth by instrument dated May 1,
2013, recorded May 6, 2013, under Harris County Clerk’s File No. 20130215730.
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                                          Exhibit B
                                     Permitted Exceptions

       1.     Easements for ground, aerial and pad mounted transformer station, as granted to
Houston Lighting & Power Company by documents filed for record under Harris County Clerk’s
File No. H068516, H208527, H697043 and S715745.

         2.     A utility easement 7.5 feet wide along the most northerly easement line; a 7.5 foot
utility easement along the most southerly north line and a 5 foot utility easement running east
and west for approximately 170 feet beginning 130 feet from the south line of East Harris
Avenue and the most northern property line, together with an unobstructed aerial easement 5 feet
wide from a plane 20 feet above the ground upward adjacent to said easement as retained by
Houston Lighting and Power Company, Houston Natural Gas Corporation, and Southwestern
Bell Telephone Company and Pennzoil United, Inc., in instruments recorded in Volume 8409,
Page 159, Volume 8409, Page 164, Volume 8409, Page 168 and Volume 8409, Page 172,
respectively, all of the Deed Records of Harris County, Texas. Ordinances modifying easements
in Clerk’s File Nos. G331020 and G331021.

        3.     Terms, conditions, stipulations and easements contained in Operating Agreement
filed for record under Harris County Clerk’s File No. G951778; and being assigned to Dillard
Texas Operating Limited Partnership now Dillard Texas, LLC by assignment filed for record
under Harris County Clerk’s File No. R771411 and change of name by Certificate of Merger;
and being amended by agreement filed for record under Harris County Clerk’s File No. S146982.
Assignment and Assumption of Operating Agreements to Dillard Texas East, LLC as set forth by
instrument dated December 31, 2010, recorded under Harris County Clerk’s File No.
20130215727. Assignment and Assumption of Operating Agreements to Ventech Engineers
International, LLC, a Texas limited liability company, as set forth by instrument dated May 1,
2013, recorded May 6, 2013, under Harris County Clerk’s File No. 20130215730.


        4.     The restrictions and regulations imposed by Ordinance of the City of Houston, a
certified copy of which is recorded in Volume 7940, Page 233 of the Deed Records of Harris
County, Texas.
